         Case 5:24-cv-01154-JFW-AJR                               Document 13            Filed 12/30/24            Page 1 of 13 Page ID
                                                                         #:84
                                                                                                                                                     CIV-100
ATTORNEY OR PART`! WITHOUT ATTORNEY:                       STATE 8AR NO:                                                 FOR COURT USE ONLY

NaME: RYAN ABAIR
FIRM NAME:
                                                                                                                                          CAU~Y
srReeTA~oREss 23967 GUAJOME ROAD                                                                                  ~E{~(,U.S D{STRICT
                                                                STATE: C/~   ZIP CODE: Q23O7
c~~ APPLE VALLEY
                                                               FAX NO.'.                                                             ~r~
TELEPHONE NO      ~4Q2~Z3O-94~$
                                                                                                                       ~r           ~ `~—
E-MAIL ADDRESS                                                                                                         W`~'
ATTORNEY FOR (name).
                                                                                                            + ~           DIS            C~"~~
SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
 STREET ADDRESS: ~~~ 1~,..5~ ~ ~,1`~~1~                   ~~~~}~''~(,~y~ry'1       ~J {~.,
                     G p~~                                                          fo ems.
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MAILING ADDRESS'
CITY AND ZIP CODE: ~~   ~'O~ ~.~S q                  ~'~~ a i,~~,
    BRANCH NAME: ~   ~i

    Plaintiff/Petitioner:RYAN ABAIR
DefendanURespondent:~~;~~,-~~, ti ~r~
                                                                                                          CASE NUMBER:
 REQUEST FOR                      0Entry of Default                 (~]Clerk's Judgment
  (Application)                    Court Judgment                                                         ~ ~, Z '^ ~! \~
                                                                                                                         et seq.);(see form CIv-105)
  Not for use in actions under the Fair Debt Buying Practices Act(Civ. Code,§ 1788.60

    TO THE CLERK. On the complaint orcross-complaint filed
    a. on (date): 12/26/24
    b. by (name): RYAN ABAIR
    c. ~ Enter default of defendant(names).       ~ ~{~,~                         ~v~(p~-


    d. 0I request a court judgment under Code of Civil Procedure sections 585(b), 585(c), 989, etc., against defendant
        (names):

          (Testimony required. Apply to the clerk for a hearing date, unless the court will enter a judgment on an affidavit under
           Code Civ. Proc., § 585(d).)
   e. 0Enter clerk's judgment
      (1)0for restitution of the premises only and issue a writ of execution on the judgment. Code of Civil Procedure secttion
               1 174(c) does not apply.(Code Civ. Proc., § 1169.)
           0Include in the judgment all tenants, subtenants, named claimants, and other occupants of the premises. The
                   Prejudgment Claim of Right to Possession was served in compliance with Code of Civil Procedure section
                   415.46.
      (2) 0    under  Code of Civil Procedure section 585(a).(Complete the declaration under Code Civ. Proc., § 585.5 on the
               reverse (item 5).)
      (3) ~ for default previously entered on (date):
2. Judgment to be entered.                                   mou t           Credits acknowledged                    Balance
   a. Demand of complaint . . . . . . . . . . . . . $ 2,500,000           $                                $ 2,500,000
     b. Statement of damages*
        (1) Special . . ........ -          . .. . _ $                                        $                                 $
         (2) General .................... $                                                   $                                 $
     c. Interest . ....................... $                                                  $                                 $
     d. Costs (see reverse).. . . . . . . ...... $                                            $                                 $
     e. Attorney fees .. . . . ......... . .... $                                             $                                 $
     f . TOTALS . . . . . . - • - - ..... . . . . . $                                         $                                 $
  g. Daily damages were demanded in complaint at the rate of: $                   per day beginning (date):
  '
  ( Personal injury or wrongful death actions; Code Crv. Proc., § 425.11.)
3.0(Check if filed in arr unlawful detainer case.) Legal document assistant or unlawful detainer assistant information is on the
        reverse (comnlefe item 41.
                                                                             ~~
  Date:
                         RYAN ABAIR
                                  (TYPE OR PRINT" NAME)                                           (SIGNATURE OF           R ATTORNEY FOR PLAINTIFF)


  FOR COURT                ~~) 0Default entered as requested on (date):
  USE ONLY                 C2) 0Default NOT entered as requested (state reason):
                                                         Clerk, by                                                                   ,Deputy             p~ ~ o{3

 Form Adopted for Mandatory Use                                                                                             Code of Civil Procedure, §§ 585-587, 1189
 Judicial Council of CalAomia
                                                           REQUEST FOR ENTRY OF DEFAULT                                                              www couRs.ca.gov
 CIV-100[Rev. January 1, 2023]                                (Application to Enter Default)
         Case 5:24-cv-01154-JFW-AJR                              Document 13               Filed 12/30/24            Page 2 of 13 Page ID
                                                                        #:85
                                                                                                                                            CIV-100
                                                                                                               CASE NUMBER
    Plaintiff/Petitioner: ~~ ~- ~~~/"~
pefendanURespondent:        ~~~~ r,                                                                            ~ -. `•        ~~~ ,


4. Legal document assistant or unlawful detainer assistant(Bus. 8~ Prof. Code,§ 6400 et seq.). A legal document assistant or
   unlawful detainer assistant0did 0did not for compensation give advice or assistance with this form. If declarant has
   received any help or advice for pay from a ►egal document assistant or unlawful detainer assistant, state:
    a. Assistants name:                                                                             c. Telephone no.:
    b. Street address, city, and zip code:                                                          d. County of registration:
                                                                                                    e Registration no
                                                                                                    f. Expires on (date):

5. ~ Declaration under Code Civ. Proc., § 585.5 (for entry of default under Code Civ. Proc., § 585(a)). This action

    a. ~ is             Ox       is not on a contract or installment sale for goods or services subject to Civ. Code, § 1801 et seq. (Unruh Act).
    b. 0 is ~ is not on a conditional sales contract subjeci to Civ. Code, § 2981 et seq. (Rees-Levering Motor Vehicle Sales
                     and Finance Act).
    c. ~ is ~ is not on an obligation for goods, services, loans, or e~ensions of credit subject to Code Civ. Proc., § 395(b).

6. Declaration of mailing (Code Civ. Proc., § 587). A copy of this Request for Entry of Default was
    a. ~ not mailed to the following defendants, whose addresses are unknown to plaintiff or plaintiff's attorney (names):

    b. [~ mailed first-class, postage prepaid, in a sealed envelope addressed to each defendants attorney of record or, if none,
          to each defendant's last known address as follows:
          (1)     Mailed on (date): 12/26/24                                           ~2~ To (specify names and addresses shown on the envelopes):
                                                                                           ~~~~~r~ N
                                                                                               2 ~ ~i ~ ~ ~~~'~ S~-
 declare under penalty of perjury under the laws of the State of California that the foregoing items 4, 5, and 6 are true and correct.
Date: 12/26/24

                                  YPE OR PRINT NAME                                                    ~         ~
                                                                                                                 (SIGNATURE ~~
                                                                                                                            OF DECLARANT)


7. Memorandum of costs (required if money judgment requested). Costs and disbursements are as follows (Code Civ. Proc.,
    § 1033.5):
   a. Clerk's filing fees     .. . . .... . . .. . . .. $
   b. Process server's fees . . . . . . . . . . . . . . . . . $
   c. Other (specify):                                        $
     d.                                                                 $
     e. TOTAL . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $ °~,, ~ ~~C
                                                                                  ~,   =i ?~
     f. ~x Costs and disbursements are waived.
    g. i am the attorney, agent, or party who claims these costs. To the best of my knowledge and belief this memorandum of costs is
       correct and these costs were necessarily incurred in this case.
 declare under penalty of perjury under the laws of the State of California that the foregoing item 7 is true and correct.
Date: 12/26/24
                                   RYAN ABA►R                                                                            /
                                                                                                                      ~c~f
                                 (TYPE OR PRINT NAME)                                                      `     (SIGNATURE 0~ DECLARANT)




CIV-100 [Rev. January 1, zo2s)                            REQUEST FOR ENTRY OF DEFAULT
                                                             (Application to Enter Default)
          Case 5:24-cv-01154-JFW-AJR                                 Document 13            Filed 12/30/24              Page 3 of 13 Page ID
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                                                                                                                                                      CIV-100
                                                                                                           CASE NUMBER:
                                    ~                         1 ~/
    Plaintiff/Petitioner: ~V4,~'S~                                                                                            j
                                                          ~     ~                                          ~~ ~, ~
DefendanVRespondent:%~,p,-~ i ~ t ~

                                 y status (required for a judgment).                                    as defined by either the Servicemem
                                                                                                                                                bers
8. Declaration of nonmilitar                          is in the military service of the United States
                    espon dent  named     in item 1 c
   No defendanUr                                                                       ans Code sections 400 and 4020.
                                        3911(2)) or California Military and Veter
   Civii Relief Act (see 50 U.S.C. §
                                                                                                  e because (check all that apply):
                                                       in item 1c is in the U.S. military servic
   i k~nw that no defendanUrespondent named                                                       uer~~~ am,vr~:,Pa~~a.,~ ~~ nit ~~ «~~ ~ ~ c ~„crta~
                  searc h result s that I  receiv ed from   !~t#ps:!/scra.dmdc.C~Cl.rr~ty say use
   a ~ the
              service.                                                                                they are not in the U.S. military service.
              I am in regula r commu nicat   ion  with the defendanUrespondent and know that
   b.0                                                                                             are not in the U.S. military service.
                                          defendanbrespondent, and they told me that they
   c. ~ I recently contacted the                                                                        e on or about (date):
                                                   ndent was discharged from U.S. military servic
   d. ~ I know that the defendant/respo                                                                they are:
                                              is    eligible to serve in the U.S. military because
   e. ~ the defendanUrespondent not
             0incarcerated08 buslfless entity
     f. [~ other (specify):




                                                                                   0
                                                                       //scra.dmdc.osd.miU.
              • U.S. military status can be checked online at hitps:
                                                                      e, or their military status is unknown, the defendanUrespondent
              • If the defendanUrespondent is in the military servic
                                                                           l and state law before a default judgment can be entered.
                is entitled to certain rights and protections under federa
                                                                                  a~~f~c~tts.
              • For more information, see i~ttps.// e fh~E .c~rts.ca~o~/milit




                                                                                                                           t.
    declare under penalty of perjury under the laws of the State of California that the foregoing item 8 is true and correc

  Date: 12/26124
                                     RYAN ABAIR
                                   (TYPE OR PRINT NAME)                                                          SI     AT ~ E OF DECLARANT)



   CIV-100(Rev. January 1, 2023]                              REQUEST FOR ENTRY OF DEFAULT
                                                                     (Application to Enter Default)

   For your protection and privacy, please press the Clear                                       ~~..~ LI.:.. 1~....~                          f~l~~~ LI.:.. t......
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Case 5:24-cv-01154-JFW-AJR                               Document 13                   Filed 12/30/24   Page 4 of 13 Page ID
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                                                   Page 5 of 13 Page ID
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                             U.S. Copyright Office Receipt
                                                        s Sent to Accompany an
           Deposit Copy Shipping Slip for Deposit Copie
                            Electronically Submitted Application

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 Case Date:
                                       Artwork placed on apparel which can aso be in tangible
 Title:                                    form. Material Media Artworks. Uni ue et sim
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  Instructions for Sending Deposit Copies
  I.    Attach this shipping slip securely to the deposit copy or copies for this work.
  II.   Mail the _deposit copy_or _copies_within 30 days of the case date listed above.

  Please Mail To:
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  101 Independence Avenue SE
  Washington, DC 20540

                                                                                                        Standard
     Case 5:24-cv-01154-JFW-AJR   Document 13   Filed 12/30/24   Page 7 of 13 Page ID
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l~.S. Ct~pyright ~Jff~ce Application - 7-14398188071 R.A
~3-24 art,apparel,mist goods.and 7 Qther
Unpublished'1~'orks

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~"he U.S, Capyrigl~t affice has completed its rev6ew of your Maim. C)~r
registration decision is set far~h in the a~tachec~ .pc#~.

~`he attached .pdf cs~nstitutes "written`° notice ~~r 37 ~.~.R.§ 202.5~b)~4)
and 17 U.S.Q. ~ 414(b~.

Instructions #or respanding to the C~ffic~'s registration decision are provided
in the attached .~df. III responses should be sent acco~din~ to hes~
instructi~~s. L~c~ nofi ~~eply to this er°raaii.

C~uest~~~~~ ~~c~ut this process shauld be directed to the Public Information
C.~ffi~e at

      , :


Elizabeth Stringer
~ap~right Examiner
Vis+u~l Arts Division
U.S. Cop~yrigF~t C~~~ric~



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 THREAD ID~1-6~CHC5~]
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l.~t;gat;on Sta~err'e~t•Form LS
                                     Certifications and Documents Sec4ion
United States Copyright Office,
                                                                                                   in Connection with Copyright Registration
                                         Phonorecords, or Identifying Material Deposited
Request for Reproduction of Copies,



                                                                                    §zoi.z(d)(Z)(ii). Thisform must contain a signature
                                         of copyright deposits pursuant to 37 CFR
This form must be used to request copies                                                  Form LS must be used for each work requested.
                                       for the Office to process the request. A separate
and all information requested in order                          ion.
                                             photo identificat
The person who picks up copies must present
                                                  for specificlitigation noted.
waawirae: Material requested must only be used


                                                                                                                    below.
                                                            )(ii), please make a copy of the deposit described
Pursuant to i7 USC 47o6(b)and 37 CFR g2oi.2(d)(2
                                                                                        Effective date of registration ~
Registration number o
                   1 -14398188071
 Title and descriprion of this work:


                  R A 23-24 art apparel mist goods and 1 ether U~ublished Works


 The copy of this material shotild be:
 D Uncertified         ❑Certified (additional fee applies)              D E~edited (additional fee applies)



 The copy of this material is to be used for the following actual or prospective litigation:
                  RYAN A6AIR
 Name of client:
                               ROAD
 Address: 23967 GUAJOME
                                                                                                                State: CA        Zip: 92307
 City: APPLE VALLEY

 Phone:(442) 230-9438                              Fax:(        )                                Email: Art.musici @icloud.com



 Client is(or may become): v                                Names)of other party/parties: ~
                                                            PLEASE SEE ATTACHMENT
 D Plaintiff       ❑Defendant


 Nature of the controversy: v                                                        Name of court if proceedings have been instituted: i
 ORGANIZED CRIME                                                                     SUPERIOR COURT OF CALIFORNIA RIVERSIDE

 COPYRIGHT INFRINGEMENT OVER 1k INFRINGEMENTS                                        Docket number:
 TRADE SECRETS                                                                       Caption:
  I NTELLECTUAL PROPERTY THEFT



  If litigation is prospective, please give a full statement of the facts surrounding the controversy(attach additional sheets if necessazy).
  Attach any letter or other document that supports your claim that litigation maybe instituted.
  It would cost me 105k or 2.4 million dollars for protection of my work. As I have various material including art, apparel, home goods, and other

  misc products also I make thousands a week unfortunately is financially impossible for me. Every last piece has been stolen. I'm tired of

  individuals and companies selling my work without compensation. Which is why iYs has gotten so egregious and rampant.




  M ORE ON BACK   •Complete all appl(cable spaces(number 3)on the revere side of this page.                                                 DO NOT WRITE HEP,E
                  • Read a119nformation and sign number q.                                                                              Page~of          pages
Case 5:24-cv-01154-JFW-AJR                      Document 13                               Filed 12/30/24             Page 9 of 13 Page ID
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AO 440(Rev. 06/12) Summons in a Civil Action (1~~e 2')

 Civil Action No.

                                                  PROOF OF SERVICE
                   (This section should not befiled with the court unless required by Fed R. Civ. P. 4 (1))

           This summons for (name ofindividual and title, ifarty) ~~.jrp,~                     ~ ~-~ J(~~~'C"l(~~ µ~aq~

 was received by me on (dare)            ~2— ~ b — ~,~Z~                  • —~,

           ~ I personally served the summons on the individual at(place)
                                                                                  on (dare)                            or

           I~ I left the summons at the individual's residence or usual place of abode with (,~me)
                                                                  a person of suitable age and discretion who resides there,
           on (dared                              ,and mailed a copy to the individual's last known address; or

           tS~l I served the summons on (name oj;nd~v~dualJ           '~~,~                         ~                         ,who is
            designated by law to accept service of process on behalf of (~►ame ojorganuar~on)                ~ 3 ~S~ L

            S~\~ `n~.~            `Y ~2 N.~~ ~1~~~                                OII (date) ~ ~                 , Or

           ~ Ireturned the summons unexecuted because                                                                              or

           ~ ~Cller (spec):




           My fees are $                           for travel and $                   for services, for a total of $        0.00


          Ideclare under penalty of perjury that this information is true.


 Date: \~1~~1~.`-,
                                                                      V                       Server's signature




                                                                                         Printed name and




                                                                 23~t 676u ~. ~ ~,~ ~ ~~I AP~~'~u ,L ~-~ 23a~
                                                                                              Server's address


 Additional information regarding attempted service, etc:
        Case 5:24-cv-01154-JFW-AJR                Document 13 Filed 12/30/24             Page 11 of 13 Page ID
                                                         #:94

AO 440(Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                         for the




                         RYAN ABAIR

                           PlainlifJ'(s)
                               v.                                   Civil Action No.


                      FASHION NOVA
                                                                   ~ ~~ a~i Lv ~ l~~

                          Defendants)


                                               SUMMONS IN A CIVIL ACTION

TO:(Defendant's name and address)

                                                                   FASHION NOVA

                                                       2801E 46th St, Vernon, CA 90058



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or(3)—you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor plaintiff's attorney,
whose name and address are:                                    FASHION NOVA

                                       PLEASE RESPOND THROUGH

                                                                                                E
                                                                     255 EIS+'~            ~~~`~       ~.~.~ ,~z~ '~~ ~'
                                         '          1 I             iAS RN1~~l~F,S ~ ~-~ti.~7c~r:.A ~~Ci
       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                       CLERK OF COURT


Date:             12/21/2024
                                                                                 Signature ofClerk or Deputy Clerk
             Case 5:24-cv-01154-JFW-AJR                  Document 13 Filed 12/30/24                           Page 12 of 13 Page ID
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